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September 12, 2022



Honorable Judge Susie Morgan
U.S. District Court, Eastern District of Louisiana
New Orleans, Louisiana



Your Honor:

On behalf of the Monitoring Team, and as you directed at the October 17, 2022 public court
hearing, we’re pleased to submit for public review this report regarding opportunities for further
innovation and enhancement to the NOPD’s current structures, policies, and practices. This Report
was shared in draft with the NOPD on May 18, 2022, and a slightly updated version was shared on
June 8, 2022. Please note, the recommendations in this report are just that — recommendations.
NOPD leadership has been open to meaningful collaboration throughout this process, and we are
hopeful these recommendations are taken in that spirit. There may be reasons some of these
recommendations turn out to be operationally impractical, unduly burdensome, too expensive, or
simply ineffective. We intended these recommendations simply to start a discussion consistent with
NOPD’s stated goal of continuous self-improvement.

I.     Authority

The Monitoring Team undertook this review at the direction of the Court pursuant to Consent
Decree paragraph 455, which requires the Monitoring Team to make recommendations to the
parties regarding measures necessary to ensure timely, full, and effective implementation of this
agreement and its underlying objectives. [CD paragraph 455]

II.    Scope and Methodology

To prepare this list, we solicited the views of the members of the Monitoring Team. These men and
women have vast experience in all manner of policing and have seen first-hand the way law
enforcement agencies across the United States have solved problems. Their input was invaluable in
putting together this report. We also spent significant time meeting with scores of officers of all
ranks regarding their experiences within the NOPD, including meeting with three police associations
representing officers of the NOPD: the Fraternal Order of Police (FOP), the Police Association of
New Orleans (PANO), and the Black Organization of Police (BOP). For this report, we did not
meet with or solicit information from members of the public, although we have done so consistently
throughout the implementation of the Consent Decree.

The officers and police associations with which we met were generous with their time, and engaged
in constructive dialogue on a number of very complex issues. We thank them for their cooperation
in this process. While some of the recommendations in this report are consistent with
recommendations made by one or more of them, it is important to know that no recommendation


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has been included in this report because one or more police association pushed for it. Every
recommendation in this report reflects the Monitoring Team’s independent collective judgment
whether or not an association previously has made the same recommendation.

For convenience, we have organized our recommendations into five broad categories:

           Officer Trust and Job Satisfaction, Inclusion, and Retention,

           Efficiency and Burden Reduction,

           Sustainment and Continuous Improvement,

           Community Trust, and

           Recruitment.

As you will see, there is overlap in these categories. But they serve a useful organizational structure.

Where applicable, we have referenced sections of the Consent Decree that relate to our
recommendations and/or made reference to what we have seen work in other departments.

III.        NOPD Response

The NOPD submitted a written response to the Monitoring Team’s recommendations on August
16, 2022, which it updated on September, 9, 2022. The updated response is attached to this Report
as Attachment A.

IV.         Monitoring Team Recommendations

            A.     Officer Trust and Job Satisfaction, Inclusion, and Retention

While the Consent Decree, for obvious reasons, focuses primarily on the NOPD’s interaction with
the community, NOPD’s internal interactions are important. The way the NOPD treats its officers
has a dramatic effect on a number of critical functions, including recruitment, retention, and
performance. Study after study has shown that better treated employees perform better, are more
efficient, engage in less misconduct, work harder, and live healthier lives.1 While there always will be
aspects of a police organization and policing in general that create frustration, stress, and even
danger to officers — in other words, reduce job satisfaction — to the extent the NOPD can
minimize these negative forces, the officers, their families, the Department, the City, and the
community will benefit.


1       See, e.g., Does Employee Happiness have an Impact on Productivity? Oxford University, Saïd Business School
(Oct 2019) https://ssrn.com/abstract=3470734; Proof that Positive Work Cultures are More Productive, Harvard
Business Review (Dec 2015) (https://hbr.org/2015/12/proof-that-positive-work-cultures-are-more-
productive ).


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Moreover, a disciplined focus on officer job satisfaction is consistent with the spirit and letter of the
Consent Decree. For example, paragraph 12 of the Consent Decree provides that “the City is
responsible for providing necessary support and resources to NOPD to enable NOPD to fulfill its
obligations under [the Consent Decree.” [CD at 12] Section XIII requires officers be provided
“ready access to mental health and support resources.” Section XIV ensures officers are afforded a
fair and effective performance evaluation and promotions process. And Paragraph 377 ensures
officers operate in an environment that is free from retaliation.

Following are several recommendations we believe are worth serious consideration by the NOPD
leadership team.

        Develop a more transparent KSA review and feedback process

NOPD uses the term KSA (which stands for “Knowledge, Skills, and Abilities”) to refer to the
process through which Departmental units can internally advertise job opportunities, share the job
requirements and expected officer qualifications, and select the officer who is the best fit for the job.
Our review identified a widely-held perception among officers that the KSA process is not fair and
that supervisors give plum assignments to friends rather than to the most qualified candidate. While
the current process met the requirements of the Consent Decree and the Monitoring Team has seen
no material evidence of misconduct or violations of the Consent Decree in the KSA process, the
current process would benefit from greater structure and documentation, more consistent use of
appropriate selection rubrics to guide decision-makers, and greater transparency. Specifically, we
recommend the NOPD consider (a) developing a clear, written selection rubric for every KSA
(other than those appointed directly by the Superintendent or a Deputy Chief) so that candidates
understand the qualifications and skills being sought, (b) direct supervisors to document the reasons
for their selection decision in a manner that clearly articulates why they chose the candidate they
chose based upon the advertised rubric, and (c) ensure supervisors inform unsuccessful candidates
of why they were not selected with sufficient detail to permit the officer the opportunity to improve
upon those areas for future KSAs. For similar KSAs issued in multiple Districts (e.g., the DCAT
KSA), we recommend a standard template be used across all Districts from which Districts can
deviate only where they have an articulable need (e.g., to incorporate a skill of particular importance
due to the unique nature of a given District).

        Improve the physical facilities in which officers work

The environment in which an individual works affects the way that individual works. Multiple
studies have shown that work conditions influence behavior, performance, loyalty, and ethical
conduct.2 As a case in point, one can look to the NOPD Academy, which underwent a
transformation into a new building with a professional interior several years ago.3 PIB underwent a

2        See Shobe K, Productivity Driven by Job Satisfaction, Physical Work Environment, Management
Support and Job Autonomy, Business and Economics Journal, 9: 351 (2018).
3        We note, however, the establishment of a professional firing range within the confines of the City of
New Orleans took significantly longer and continued to be a source of frustration and inefficiencies among
officers and rank.


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similar transformation with a similar result. In the view of the Monitoring Team, the upgraded work
environments demonstrably contributed to a dramatic improvement of the professionalism and job
satisfaction of the Academy and PIB staffs. (We also suspect, consistent with multiple studies, that
the better quality facilities at the Academy will positively impact student learning.4)

In contrast, other officers — including those working in NOPD headquarters — continue to work
in facilities with dilapidated structures, uncared-for mechanical systems, and unsightly interiors. It is
an understatement to say that many NOPD officers work in less than ideal conditions. They deserve
better.

We understand that City-wide financial constraints may prevent the NOPD from making all the
improvements its officers and its community deserve, but we cannot overstate the importance of
establishing an aggressive plan for improving facilities where possible. While significant capital
improvements may take time, more modest improvements like new paint, replacing moldy carpets
and ceiling tiles, fixing broken windows and doors, taking advantage of available natural light,5 and
adding art6 should be doable now. Further, from a workplace safety perspective, failing to make
some of these improvements could create physical risk to officers and legal risk for the City.

        Identify ways to ensure opportunities (education, conferences, special assignments,
         etc.) for officers are given on a fair, impartial, and non-biased basis

While fairness in the internal selection process is important in any police organization, it has become
more important to NOPD recently because the Department now considers job experiences as part
of the promotions process. Some officers have complained that considering specialized experiences
(e.g., PERF training, homicide experience, FBINA, Southern Police Institute, etc.) creates an
inherent unfairness because some officers are not given the opportunity to participate in such activities.
These complaints are exacerbated by a perception that some officers are selected for such activities
simply by virtue of their relationships with certain influential department leaders.

While the Monitoring Team continues to believe considering specialized training, assignments, and
experiences provides a meaningful benefit to the Department, the City, and the community, we are
sensitive to the counter argument that such consideration could be unfair to officers who have not
had the chance to take advantage of such opportunities. The solution, in our view, is to maximize




4        See, e.g., “The Importance of School Facilities in Improving Student Outcomes,” PennState Center
for Evaluation and Education Policy Analysis. https://sites.psu.edu/ceepa/2015/06/07/the-importance-of-
school-facilities-in-improving-student-outcomes/.
5        Research shows that workstations with natural light boost productivity. According to one study,
“Specific benefits of workspaces incorporating natural light “include better health, reduced absenteeism,
increased productivity, financial savings, and preference of workers.”
https://www.nrel.gov/docs/fy02osti/30769.pdf.
6        Something as simple as art has been shown reduce stress, increase productivity, and increase morale.
See https://www.umass.edu/fac/spotlight/1.9.html.


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the fairness of the section process to ensure opportunities are made available to officers fairly,
transparently, and without bias.

To that end, we recommend (a) the Department establish threshold qualifications for officers being
proposed for special opportunities (e.g., above average performance evaluations, above average
attendance history, history of community-focused activities, etc.), (b) supervisors be required to
articulate and document the basis for their selection decisions (referencing those threshold
qualifications among other things of importance to the supervisor), (c) supervisors be provided
training in how to make selection decisions free from bias, and (d) PSAB review the selection
decisions on a semi-annual basis to look for department-wide patterns of bias (including racial,
gender, age, and familiarity).

        Provide officers take-home vehicles as soon as financially feasible

NOPD and its officers would benefit from take-home vehicles. The NOPD emphasized how take-
home vehicles would serve a critical public function by improving the visibility of NOPD officers
throughout Orleans Parish and also lead to long-term cost savings. This view is consistent with
research that has quantified the benefit of take-home vehicles.7 For example, one study in Tacoma,
Washington “compared a fleet of 30 take-home assigned vehicles to a pool of 34 unassigned
vehicles for eight years,” and concluded that:

                “On average, shared vehicles lasted only 20-26 months while assigned
                vehicles lasted 60 months. The study found massive reductions in
                accident and damage repair costs. Shared vehicles would reach up to
                $8,400 a year while assigned vehicles went up to $1,375. There is not
                only an increase for backup potential within police departments but a
                higher morale amongst employees.”8

Additionally, we note that to an officer his/her vehicle is his/her office. The opportunity to have a
vehicle that you can keep clean, organized, and performing not only increases officer job
satisfaction, but also likely will result in better care of NOPD’s property. We believe take home cars
also will act as a powerful recruitment tool. Moreover, surrounding law enforcement agencies
provide take home vehicles for their officers, which creates a perception that NOPD values its
officers less than these other agencies.9




7         Cost-Benefit Analysis of Tacoma’s Assigned Vehicle Program, Donald T. Lauria, Police Quarterly,
vol. 10, 2: pp. 192-217 (Jun 2007), find at:
https://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.985.6897&rep=rep1&type=pdf.
8         http://www.themunicipal.com/2017/03/benefits-of-take-home-vehicles-and-keeping-the-program-
in-its-prime/.
9         We recognize that implementing a productive take-home vehicle program must include policies
governing their use to ensure vehicles are use for official purposes and officers are held accountable for
proven misuse.


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        Improve the in-office work environment by upgrading and updating equipment,
         ensuring readily available supplies, etc.

Currently, officers struggle to find working computers, supplies, and even chairs that function
properly. The Department’s OAP office, for example, is outfitted with broken furniture salvaged
and repaired (to the extent possible) by a very committed officer. Other officers are plagued with
unstable internet. Such outdated and/or non-functioning equipment sends a message that the
NOPD does not value the officers’ work.10 We recognize that over time many within the NOPD
have become resolved to the Department’s financial plight and have accepted old technology and
uncomfortable equipment, but being resigned to something does not change its negative impact. As
noted below, outdated equipment and inadequate resources not only decreases job satisfaction, it
also creates expensive inefficiencies.11 We recommend NOPD dedicate appropriate funds to its
Districts and Bureaus to upgrade office products and technology (including wireless technology),
purchase supplies, and otherwise improve the working conditions of its officers.12

        Be more open and transparent with officers

Employees in most industries value transparency.13 Police officers are no exception.14 While the
nature of police work certainly requires that some decision-making be conducted behind closed
doors, meaningful efforts to promote transparency to the maximum extent possible is in the interest
of the Department, its officers, and the community. This includes transparency within the
misconduct and disciplinary investigation process. The Department of Justice COPS office
emphasizes that adopting “procedural justice internally throughout the agency” and being
“transparent with the complaint intake process” are critical guiding principles for law enforcement
internal affairs programs.15 We recommend the NOPD enhance its internal procedural justice by
(a) letting officers know when they are under investigation as early as practicable in the process

10       How Your Office Space Impacts Employee Well-Being, Forbes,
https://www.forbes.com/sites/alankohll/2019/01/24/how-your-office-space-impacts-employee-
wellbeing/?sh=42bffa64f31a.
11       See “Convincing Skeptical Employees to Adopt New Technology” Harvard Business Review,
Rebecca Knight (March 2015) https://hbr.org/2015/03/convincing-skeptical-employees-to-adopt-new-
technology.
12       We remind the City in this context that the Consent Decree requires working computer networks in
order to evidence sustainable remedies have been implemented. The Consent Decree requires fully operational
systems for electronic police reports, BWC reviews, INSIGHT alerts, supervisory feedback logs, and many
more technology-dependent remedies.
13       “Got Transparency? Why Trust Does More for Workplace Culture than Flash Perks” Forbes,, Jim
Link (March 2020) https://www.forbes.com/sites/forbeshumanresourcescouncil/2020/03/13/got-
transparency-why-trust-does-more-for-workplace-culture-than-flashy-perks/?sh=2832222a6b50.
14       See “Building Trust Between the Police and the Citizens They Serve: An Internal Affairs Promising
Practices Guide for Local Law Enforcement”, International Association of Chiefs of Police (2009)
https://cops.usdoj.gov/RIC/ric.php?page=detail&id=COPS-P170.
15       See Law Enforcement Best Practices, lessons Learned From The Field (2019).
https://cops.usdoj.gov/RIC/Publications/cops-w0875-pub.pdf.


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(within the limits of the needs of the investigation); (b) enhancing PIB’s efforts to ensure broad
understanding of PIB’s mission, processes, and effectiveness, (c) continuing/expanding PIB’s efforts
to share data and dispel myths (e.g., expand publication of the new myth buster emails), and (d) share
more broadly PIB data, including investigations, findings, dispositions, non-disciplinary dispositions,
non-disciplinary recommendations, etc.

Similarly on the topic of openness and transparency, several officers commented that they would
appreciate better communication from NOPD leadership regarding the reasons for policy decisions
and directives. We have noted a similar push for better communication by employees in other
industries as well (including the legal profession). While we have recommended this multiple times
previously, we continue to believe the Department would benefit from a more robust internal and
external communications plan, including more frequent video communications from the NOPD
leadership team. A monthly video from the Superintendent and/or the Deputy Chiefs would go a
long way to meeting officer demands for better communication.

        Consider the pros and cons of allowing officers to provide a short paragraph to
         accompany SFL counseling and redirection

After a slow start, the NOPD now is proficient in using its SFL (Supervisor Feedback Log) process,
which is a non-disciplinary means of recording counseling or redirection given to officers by
supervisors. It also provides an efficient means of recording positive recommendations and
commendations. The use of SFLs has increased dramatically over the last few years. Unlike the
NOPD disciplinary process, however, officers are not afforded an opportunity to comment on SFL
entries. While we do not support incorporating an appeal process into the SFL process, we do see
potential advantages in allowing officers to include a short paragraph of explanation alongside SFL
entries to which they disagree. We recommend NOPD leadership consider the pros and cons of this
approach.

        Consider involving a community member and/or an HR professional in promotions
         decisions

There is a widely-held perception among NOPD officers that officers often are promoted for
reasons other than merit. While the Monitoring Team has not found evidence of any such pattern or
practice within the NOPD — and, in fact, has found NOPD to be very thoughtful in the
promotions process — we recognize the perception persists and likewise recognize the perception
degrades officer job satisfaction, which, of course, degrades officer retention. We believe NOPD
leadership continually should explore better ways to ensure officers are promoted on the basis of
merit AND ways to combat the perception of an unfair promotions system.

The promotions system implemented by the NOPD and found compliant by the Monitoring Team
is a good (not perfect, but good) process. As we outlined in our public reports, the process facilitates
a robust, holistic look at each candidate, which balances the benefits of various selection techniques
(test, interview, performance evaluations, etc.). Nonetheless, the role NOPD rank plays in that
selection process, a role we support, seems to have contributed to some ongoing misperceptions
about the process. Multiple officers expressed concern to us, for example, that the selection panel



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simply will give low scores to “officers they don’t like” regardless of merit. Again, we have not
found evidence of this and are skeptical that it happens with great frequency, but have heard it from
enough officers to know it is a widely held perception.

To counter this perception — and reduce decisions based on other than merit to the extent they
exist — we recommend NOPD consider adding a community member and/or an HR professional
to the promotions panels. As these one or two non-NOPD members would not have existing
relationships with the officers under consideration for promotion, their input would help quell the
perception of favoritism in the promotions process. Moreover, involving these non-NOPD voices
in the promotions process would be consistent with the Department’s commitment to ensure the
community has a meaningful voice in as many NOPD decisions as possible.

         Identify ways to reduce the time it takes to conduct PIB investigations

Multiple officers with whom we spoke identified the time it takes to conduct PIB investigations as a
significant factor in their job dissatisfaction. Several officers offered very specific examples of
exceedingly long timelines. While there very well may be extenuating circumstances that warrant
such long timelines, and we recognize that often the timeline is not in NOPD’s control, the negative
perception is pervasive. Moreover, we suspect most everyone would agree that, as a general
principle, resolving questions about potential misconduct as quickly as practicable benefits officers,
the Department, and the community.

Not only are long timelines demoralizing to officers under investigation, they create discontent
among officers not under investigation.16 They also create the very real risk that guilty officers are
remaining on the job unpunished, innocent officers are living with a cloud over their head
unnecessarily, and guilty officers will not be punished due to time lapses. We recommend tasking
PSAB and/or the IPM to conduct a detailed audit of PIB timelines as the Monitoring Team did
several years ago, for the purpose of identifying ways to decrease (again, where practicable) the time
it takes to conduct, and finalize an investigation.17 We also recommend NOPD engage a professional
to conduct a workload study to determine if adequate manpower is available to improve the
timeliness of investigations. Finally, we recommend PIB make available to all officers data on
investigation timelines (without names and investigation details, of course).

         Rotate officers and rank through specialized assignments

There is no clear best practice with regard to how long officers should stay assigned to specialized
units. Obviously, there are advantages of allowing officers to remain in a specialized unit long



16       https://www.ojp.gov/pdffiles1/nij/234052.pdf.
17       Decreased investigation timelines also may help reduce the perception that PIB treats officers
unfairly. To be clear, the Monitoring Team has seen no evidence that PIB treats officers unfairly, but
NOPD’s recent survey suggests there is a perception among some officers that it does.
https://www.fox8live.com/2022/03/18/nopd-internal-retention-survey-shows-lack-support-stress-flawed-
disciplinary-process-contributing-manpower-shortage/.


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enough to build up expertise.18 This benefits the unit, the Department, and the community. Allowing
officers to remain in a specialize position for longer periods of time also can reduce training and
onboarding costs.19 Further, longevity in certain areas provides critical consistency the absence of
which can harm critical departmental efforts.20

But there also are significant advantages to rotating officers through specialized units in that a
reasonable rotation provides a vehicle for bringing new ideas and energy into the unit, helps dispel
myths about the unit as officers reintegrate into the general population of the agency, helps dispel
perceptions of favoritism21 and unfairness (especially in a department that rewards a diversity of
expertise through its performance evaluations process as New Orleans does), and gives more
officers the chance to cultivate new skills and gain more career development opportunities.22

The Monitoring Team believes the arguments, on balance, favor mandatory rotations for officers in
specialized units where practicable. To be clear, we are not in favor of rotating officers too frequently
since that would prevent the NOPD ever from gaining the benefits of the learning curve every new
officer goes through. We also understand that some units (e.g., perhaps motorcycle, the Academy,
community policing, mounted, SOD) require particularly specialized skills and training that counsels
in favor of longer rotation periods.23 But these factors, to us, go to how long a duration is, not
whether there should be a duration.

The NOPD units we believe might benefit from a reasonable rotation system include SOD, DCAT,
Homicide, Narcotics, PSAB, and PIB. (We recognize some of these units already incorporate a
mandatory rotation.) Again, we concede reasonable people can argue about how long a duration
achieves the right balance between the competing factors; and we cannot say whether an efficient
and effective rotation is 2, 3, 4, etc. years. But we do believe some rotation will benefit the officers,
benefit the agency, create greater opportunities for more officers, and help dispel perceptions of
favoritism.


18        “Rotation: is it Organizationally Sound” Federal Bureau of Investigation Law Enforcement Bulletin
(April 1992) https://www.ojp.gov/pdffiles1/Digitization/136172NCJRS.pdf.
19        Police Recruitment and Retention for the New Millennium, RAND Center with Community
Oriented Policing Services (Department of Justice) https://cops.usdoj.gov/RIC/Publications/cops-p199-
pub.pdf.
20        For example, the frequency of movement among officers leading the Department’s community
engagement efforts has slowed the Department’s achievements in that area.
21        We note that 21% of the 271 respondents to the recent NOPD Retention Survey identified
“favoritism” as a reason for officer attrition. https://www.fox8live.com/2022/03/18/nopd-internal-
retention-survey-shows-lack-support-stress-flawed-disciplinary-process-contributing-manpower-shortage/.
22        Police Recruitment and Retention for the New Millennium, RAND Center with Community
Oriented Policing Services (Department of Justice) https://cops.usdoj.gov/RIC/Publications/cops-p199-
pub.pdf.
23        Notwithstanding the need for longer rotations for some units, it is important to ensure these units do
not operate in “echo chamber,” but rather are subject to the same supervision, oversight, and accountability
as all other parts of NOPD.


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It is worth adding a quick word here about PIB which has not had a mandatory rotation system in
place below the lieutenant rank. It is our view that the benefits identified above likely will be
particularly notable in the context of an accountability-focused organizations. The DOJ COPS
Office Guide to Internal Affairs has this to say about such rotations for internal affairs
organizations:

                “Consideration should be given to limiting the tour of duty in
                Internal Affairs. One agency limits its tours to 2 or 3 years, with two
                1-year extensions permitted in unusual circumstances up to a
                maximum of 5 years. There are at least several reasons for limiting
                the tour of service. Too long a stay in Internal Affairs may, in some
                cases, create investigators who become biased. The development of
                such an attitude—or any other bias—is not helpful to the employee
                or the investigations. In some cases, investigators become
                emotionally drained or even bored after extended stays in Internal
                Affairs. It is a uniquely difficult assignment and its psychological
                effects are important in determining whether a tour limit should
                apply and how long it might be.

                The experience in Internal Affairs can be extremely valuable in the
                promotion process and in giving promotees a view on employee
                behavior that would not be available elsewhere. Seeing firsthand the
                kinds of trouble people get into by investigating the incidents and
                talking with the persons harmed by the allegations and the
                misconduct is a management insight that should be offered to as
                many qualified people as is practical. Also, knowing that not all
                allegations are true—even the most horrific ones—helps those who
                leave Internal Affairs respond correctly to allegations that come
                before them as they advance in rank. Finally, there is a wisdom that
                comes from dealing with the complexities of investigative
                controversies from start to finish that can be invaluable in helping
                form a mature leader. Allowing as many qualified investigators as
                practical to acquire that wisdom by cycling them through Internal
                Affairs can infuse the agency with a maturity in the leadership team
                they may otherwise lack.”

It should be noted that while we have not seen bias on the part of PIB investigators, we agree with
the COPS recommendation and believe a mandatory rotation would help dispel the perception of bias.
We also believe the skills learned during a PIB rotation will help improve the quality of District-level
investigations.

        Involve officers in decision-making processes

Years ago, the Monitoring Team held a series of Burden Reduction Working Group meetings. They
were well attended and very productive. We took great efforts to listen to the officers, act on their



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suggestions, and, importantly, follow up with the officers to show they were listened to. The
feedback from the officers was overwhelmingly positive, especially with regard to the feedback.
Multiple officers reported they entered the process “convinced” their thoughts would be ignored,
and were quite energized to learn they were wrong.

Giving officers a voice in important organizational decisions, where practicable, has been shown to
increase job satisfaction, performance ratings, engagement, and retention.24 Additionally, we believe
involving officers in the process, even if only in an early advisory role, will make it easier for those
officers to generate buy-in among other officers by sharing the integrity of the process and the
thoughtfulness of the decision-makers.25 To this end, we recommend the NOPD consider the
following:

         Constitute an advisory panel made up of officers from all ranks to review and comment on
          draft policies. NOPD also could consider including a community representative on the panel
          as well.26 As the Consent Decree requires a wholesale policy review every year, this panel
          could play a valuable role in the continuous improvement of the Department’s already-
          compliant policies.

         Add officers from various ranks to the Academy’s Training Advisory Committee.

         As noted below, conduct regular Burden Reduction Working Groups with a rotating
          collection of officers, a process for taking action based on their advice, and a clear feedback
          loop to ensure the officers see the results of their efforts.

         Consider constituting other advisory boards and working groups in other areas that would
          benefit from practical, on-the-street expertise.

We understand a police agency was not designed to run as a democracy, and that is not what we are
suggesting. We also recognize that decision-making can become lengthy and impracticable if too
many voices have the opportunity to weigh in on the process. But we are confident the benefits of
soliciting a diversity of views, giving those views meaningful consideration, and being transparent as
to why views were or were not accepted will go a long way in increasing officer — and community
— buy-in to key decisions.



24       https://workinstitute.com/defining-of-voice-of-the-employee-why-it-is-important/; see also,
https://www.shrm.org/resourcesandtools/hr-topics/employee-relations/pages/whatandwhy.aspx.
25       Increasing employee participation via discussion sessions and pushing decision making processes
lower in the organization restores a sense of pride and personal ownership.
https://hbr.org/2019/11/balancing-the-companys-needs-and-employee-satisfaction.
26       The ABA smartly recognized the advantages of community involvement in a 2021 article by Terry
Cunningham called How Police and Communities Can Move Forward Together.
https://www.americanbar.org/groups/crsj/publications/human rights magazine home/civil-rights-
reimagining-policing/how-police-and-communities-can-move-forward-together/.


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         Provide appropriate support to officer health & wellness

We found the NOPD in compliance with its Consent Decree Officer Assistance & Support
obligations some time ago. Since that time, the Department has not maintained a consistent focus
on this critical area. The Department also has missed opportunities to expand its focus on officer
health and wellness. The current officer assistance program is run by a phenomenally committed
officer (Chris Abbott) who for years has done excellent work with skeletal resources. Through Mr.
Abbott’s (and previously Ms. Tebo’s and others’) efforts, NOPD officers have been afforded a
credible health & wellness program. Nonetheless, we recommend NOPD renew its focus on this
area and implement several improvements.

We cannot over-emphasize the importance of officer health & wellness. Police officers across the
country suffer from mental depression, suicide, alcoholism, sleep deprivation, family problems, and
other mental health issues above national averages.27 These problems impact not only the officers;
they impact the officers’ families and the community at large. Mentally healthy officers are less likely
to make mistakes, engage in excessive force, commit misconduct, leave the profession,28 or get
injured on the job. Physically healthy officers are less likely to take sick days, get injured on the job,
or develop mental health problems.29 The entire New Orleans community has a vested interest in
ensuring their officers are mentally healthy, physically healthy, well rested,30 and are given adequate
professional resources to seek help when they need it.

To that end, the Monitoring Team recommends NOPD consider implementing the following
improvements to the current officer health and wellness program as soon as possible:

         Hire full-time social workers. When we moved the Department into compliance in this
          area, the NOPD Officer Assistance Program (OAP) employed two social workers in
          addition to Mr. Abbott (who serves as the Department’s lead peer counselor). Currently,
          OAP employs no social workers. These positions should be filled immediately.

         Sign a contract with a psychologist. When we moved the Department into compliance in
          this area, the Department had a contract with a qualified psychologist, Dr. McDermott. As

27       See, e.g., Law Enforcement Mental Health & Wellness Act, Report to Congress, DOJ COPS, March
2019. See also https://www.waldenu.edu/programs/criminal-justice/resource/five-reasons-the-mental-health-
of-police-officers-needs-to-be-a-priority.
28       Early research suggests that burnout and depression have been rising among police officers since
2020, and that resignations have been increasing as a result. See, e.g.,
https://www.gpb.org/news/2021/06/14/violence-stress-scrutiny-weigh-on-police-mental-health.
29       According to the U.S. Department of Justice, “There is a strong correlation between physical and
mental health, and the two should not be thought of as separate. Maintaining physical health helps law
enforcement officers sustain long and difficult careers that are filled with stressors, which may take a toll on
the individual. . . .” https://www.justice.gov/file/1354561/download.
30       The link between lack of sleep and health and wellness is clearly established. By focusing more on
officer sleep, the NOPD will reduce mental health issues, reduce physical health issues, reduce medical costs,
reduce sick days, reduce mistakes, and reduce misconduct.


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          we understand it, Dr. McDermott has been operating without a contract (and has not been
          paid) in the last eight months. The City should remedy this shortcoming immediately to
          ensure compliance with its obligations under the Consent Decree.31

         Identify new ways to ensure officer confidentiality. One of the things that makes
          NOPD’s peer support program successful is the assurances of confidentiality. Current
          operating procedures, however, can put that confidentiality at risk, or at least can create a
          perception of non-confidentiality, which could dissuade officers from taking advantage of
          the services offered. For example, to afford an officer in need of mental health counseling
          time off to take advantage of such counseling, the peer support director must send a request
          to the officer’s supervisor with adequate details in support of the request. That supervisor
          then must send the request to his/her supervisor, etc. While we have not seen or heard of
          breaches of confidentiality in NOPD’s peer support program, it seems to us there are ways
          to better protect against future inadvertent breaches. We recommend NOPD explore
          procedural changes that further reduce the number of supervisors required to review such
          requests and the scope of the details subject to review.

         Adequately equip the OAP. The NOPD OAP lacks adequate equipment, furniture, and
          resources. Frankly, one of the reasons it functions so well is because the current peer
          support director invests much of his personal money — and much of his personal ingenuity
          — to its success. Relying on the generosity of a single officer, however, is not sustainable
          and does not reflect a proper Departmental commitment in officer health and wellness.
          NOPD should ensure the OAP has adequate facilities, furniture that is not broken, IT
          equipment (including a computer and printer) that works, and automobiles that reflect the
          Department’s commitment to the program.

         Provide OAP staff greater opportunities to attend training. Research into best practices
          in the area of officer health and wellness is constantly expanding and improving. NOPD and
          its officers would benefit significantly if OAP staff were afforded more opportunities to
          attend national trainings, conferences, and the like. As the knowledge and ideas gained from
          engaging nationally on such critical issues will benefit NOPD, its officers, and the New
          Orleans community at large, NOPD should fund an initiative to ensure its OAP leadership
          team participate in relevant educational events.

         Provide OAP a budget for incidentals and supplies. While the OAP has limited
          financial needs, its needs are not non-existent. We recommend NOPD meet with the current
          peer support director to compile an inventory of reasonable needs and fund those needs
          immediately.

         Create a working group of officers from various ranks to identify, discuss, and
          recommend innovative solutions to health and wellness concerns. NOPD’s officers
          would benefit from a more deliberate effort to innovate in this critical area. We recommend

31     Subsequent to the first draft of this report being shared with the NOPD, the City finally processed
Dr. McDermott’s contract.


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          identifying a diverse collection of officers from all ranks to meet regularly, discuss officer
          needs, and recommend innovative solutions to health and wellness issues. We further
          recommend the Department take concrete steps to ensure these recommendations are
          meaningfully considered by Department leadership and the City CAO (if additional funding
          is required).

         Consider mandatory officer wellness checks. Notwithstanding ongoing national efforts
          to change the narrative, seeking support from a mental health professional still carries with it
          a stigma among officers.32 One way to combat that pervasive stigma would be to mandate
          periodic check-ins with mental health professionals (psychologist, social worker, counselor,
          peer support officer, etc.). While we are not aware of conclusive data regarding the efficacy
          of mandatory mental wellness checks, we think there is good reason to believe such a
          practice would be of great value to officers and to the community.33 The practice has been
          implemented in a number of other departments, including certain divisions of the FBI.

As noted above, the entire New Orleans community has a vested interest in ensuring their officers
are mentally healthy, physically healthy, well rested, and are given adequate professional resources to
seek help when they need it. We are confident the foregoing recommendations will achieve that
shared goal.

V.        Efficiency and Burden Reduction

The Monitoring Team has been focused on burden reduction for years. In 2017, with the help of
then-chief of staff Danny Cazenave, we constituted several Burden Reduction Working Groups
comprised of officers at all levels within the Department. Each group was charged with identifying
wasteful practices and suggesting approaches to increase efficiencies without compromising quality.
The groups identified a number of opportunities for burden reduction, many of which were
implemented by the NOPD.

We continue to believe NOPD and its efforts to sustain the reforms prompted by the Consent
Decree will benefit from a more deliberate and diligent focus on burden reduction. We identified
several opportunities in our conversations with officers. We are confident NOPD could identify
more with a more comprehensive outreach and listening effort.

Following are several recommendations we believe are worth serious consideration by the NOPD
leadership team:




32      For a good discussion of the stigma of seeking mental health services in the law enforcement
profession, see pages 25-30 of Law Enforcement Mental Health & Wellness Act, Report to Congress, DOJ
COPS, March 2019. https://cops.usdoj.gov/ric/Publications/cops-p370-pub.pdf.
33      See id. for a good discussion of mandatory mental wellness checks.


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         Eliminate duplicative reports. Duplicative reports not only waste officer time, they
          frustrate officers and decrease job satisfaction.34 For example, the FIC and the EPR forms
          contain much of the same information and, perhaps, could be consolidated into a single
          form — or at least one form could auto-populate the other. NOPD should seek to identify
          additional areas for paperwork reduction.

         Employ electronic trip sheets. Currently, notwithstanding efforts to modernize the trip
          sheet practices in the past, most NOPD officer complete hand-written trip sheets following
          each call. This practice not only can take significant time, it also can put officers in
          vulnerable situations while they sit head-down in their cars completing paperwork. Since
          most data elements required by a trip sheet already are contained in the CAD system, it
          would appear that an electronic solution would make great sense here.

         Make better use of BWCs. Most every officer in the NOPD wears a body worn camera.
          BWCs capture high quality video and audio recordings when used properly. These
          recordings are then organized and maintained in an manner that permits relatively easy
          retrieval. It seems to us it is worth exploring ways to make better use of BWCs. For example,
          perhaps BWCs could be used to document certain activities instead of a written report, or to
          record injuries to a victim without the need to locate and bring a separate camera to the
          scene.35

         Expand officer workspace at the jail. NOPD used to have a computer and printer at the
          jail’s intake facility, which allowed officers to avoid having to return to the district station to
          print reports. We understand the computer and printer no longer exist or no longer are
          operative. This wastes significant officer time.36

         Expand the use of APR. As you know, “APR” stands for Alternative Police Response.
          The term describes an NOPD unit charged with addressing certain calls for service that can
          be handled without a district officer personally visiting the scene (or at least not personally
          visiting the scene in the first instance). The goal of APR is to allow more officers to remain
          in the areas to which they are assigned, focusing their primary attention on proactive
          activities, community engagement, and emergency response.37 The APR unit has been very
          effective for NOPD, and, thus, for the people of New Orleans. Other agencies make even




34       Routine, repetitive tasks make employees feel bored, constricted, and burnt-out, while stifling
creative drive. https://clockify.me/time-spent-on-recurring-tasks.
35       One potential benefit of body worn cameras is corroborating evidence, suggesting that footage may
be used as evidence and reduce the time required for completing paperwork.
https://www.ojp.gov/pdffiles1/nij/252035.pdf.
36       NOPD confirmed it has remedied this shortcoming subsequent to the issuance of this report.
37       See NOPD Operations Manual, Chapter 41.4.2 (Alternative Police Response).


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          more use of their APR units.38 We recommend NOPD reach out to agencies with robust
          APR units to identify ways to expand the reach of this important unit.

         Reduce officer time spent at traffic accidents. This has been a topic of discussion for
          years. Several years ago, the City contracted with an outside contractor to respond to certain
          traffic accidents. From what we have heard, this program has been effective, but it still is
          very limited. We recommend, as we have previously, expanding the program and pushing the
          state legislature for even further expansions.

         Educate the community. The New Orleans community is used to calling the police for all
          manner of concerns, including minor traffic accidents, quality of life inconveniences, medical
          issues, mental health issues, and more. A recent anecdote will help illustrate the point. A
          citizen called the police because he was involved in a hit and run earlier in the day. His car
          was side-swiped on the high rise and the other car did not stop. He waited 3 hours for police
          and finally gave up and went home. An officer finally visited his home at midnight. Had the
          citizen understood he didn’t need an officer to come to his home, he likely would have saved
          NOPD’s time and his own time (and frustration). Some agencies across the United States
          have done a better job than New Orleans in resetting the expectations of the community. A
          more robust education campaign likely would increase community use of APR thereby
          freeing up significant officer time.

         Invest in technology. We have noticed wasted officer time in the current way the DA’s
          Office and the NOPD interact. Rather than using a secure file sharing site, an NOPD officer
          must personally deliver reports and evidence to the DA’s office. A simple file-sharing
          process would save significant time and also increase the integrity of the process by
          providing both the DA’s Office and the NOPD with a clear record of all files shared. We
          raised this issue with the DA, and he agreed a filing sharing protocol would help both
          agencies. We recommend NOPD work with the DA’s Office to identify a cost-effective file
          sharing solution and consider sharing the cost since it will benefit both agencies. Further
          with regard to technology, we continue to recommend NOPD consider providing officers,
          or at least detectives, with department-issued smart devices (e.g., Apple iPad, Samsung
          Galaxy, etc.). We believe the expense of such technology is well justified by increased officer
          efficiencies, increased conviction rates, and increased officer and community satisfaction. It’s
          even possible the cost could be offset by allowing a manufacture to promote the NOPD’s
          use of its technology.

         Request the State Police handle Interstate accidents and enforcement. NOPD
          officers spend significant time handling vehicle enforcement and accidents on the Interstate
          highways that cross New Orleans. Outside New Orleans, however, the State Police handle


38       See, e.g., Eugene, Oregon offers CAHOOTS, a mobile crisis intervention program staffed by city
vehicles and clinic personnel. https://www.eugene-or.gov/4508/CAHOOTS; Denver, Colorado offers their
STAR program, a mobile crisis response team for low-level mental health calls.
https://www.policeforum.org/criticalissues10feb21.


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           such incidents, and are highly trained to do so. We recommend the City of New Orleans
           attempt to have the LSP handle incidents on the Interstate.

          Improve the speed of fixing officer cars. When we visit District stations, which we do
           regularly, we frequently see vehicles unavailable to officers because they are in need of
           repairs. We also have seen the unavailability of cars cause officers to have to “double up,”
           which reduces the reach of NOPD’s efforts in a District. Further, we have seen officers have
           to pay for their own car repairs to avoid a car from being taken out of service for an
           extended period of time. We recommend the City consider adding resources to the division
           responsible for automobile repairs to shorten the time it takes fix police cars.

          Explore the benefits of a more robust internal grievance process. When officers do not
           have faith in the internal NOPD HR grievance process, they often turn to the PIB
           disciplinary process to revolve interpersonal disputes. This slows down the disciplinary
           process for others, creates additional stress among officers, and too often leave both officers
           unsatisfied. A more thoughtful grievance process might create efficiencies for NOPD, and
           significant benefits for officers who often simply are looking for an apology.

Beyond these specific recommendations, we continue to believe NOPD would benefit from a more
deliberate review of the paperwork currently required to be completed by officers. While we remain
firm in our view that documentation and reporting is critical to integrity, accountability, solving and
prosecuting crimes, and building community trust, we likewise remain opposed to needless
duplication of effort that does not contribute to those goals. A concerted effort to identify the
current practices that are taking officer time and a thoughtful discussion regarding whether those
efforts materially contribute to the running of the Department, and the trust the community has in
the Department, will go a long way in increasing officer job satisfaction, increasing community trust,
saving money, and dealing with the current officer shortage.39 We also believe reducing the
administrative burden on officers will help fight crime as well as it will maximize the time officers
are able to spend on the street protecting the public.40

VI.        Sustainment and Continuous Improvement

The Consent Decree was designed not only to remedy past unconstitutional and dysfunctional
practices, but to ensure those remedies would be sustainable over time. To help achieve
sustainability, at the direction of the Court, the NOPD, the DOJ, and the Monitoring Team have
dedicated significant time to activities designed to ensure the achievements of the last eight years will
not degrade over time. For example, we have built strong policies, developed a meaningful internal



39        Increased administrative demands and overly complex business processes are drivers of work
overload, and left unaddressed can damage employee engagement and lower quality of work.
https://www2.deloitte.com/us/en/insights/focus/human-capital-trends/2015/work-simplification-human-
capital-trends-2015.html.
40        https://www.policechiefmagazine.org/paperwork-burden-in-policing/.


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audit program, increased data available to the public, and supported the promulgation of a City
Council Regulation that codifies many of the most important elements of the Consent Decree.

But there are other steps NOPD could take to help ensure the sustainability of its achievements.
Following are several recommendations we believe are worth serious consideration by the NOPD
leadership team:

         Elevate the Academy to a Bureau level organization. Rather than housing the Academy
          under the Management Services Bureau,41 we recommend elevating the stature of the
          Academy by transforming it into the NOPD Education & Training Bureau (ETB). The ETB
          could including the Academy, the NOPD Policy function,42 the Department’s EPIC/ABLE
          program, and perhaps other education-related functions as well. It could be run by a civilian
          chief who also could serve at the Academy’s Academic Dean, which would help the
          Department attract and retain a high qualified leader, the importance of which has been
          highlighted by the departure of the most recent academic director, Dr. Deidre Magee; a
          departure prompted at least in part by the Department’s inability to offer a competitive
          salary.

         Continue demilitarizing the Academy. The NOPD Academy has undergone significant
          changes since the outset of the Consent Decree. It now is a professional institution, in a
          professional setting, run by an academic dean. But more could be done.43 We recommend
          NOPD make a more concerted effort to create more of a collegiate experience within the
          Academy. We further recommend NOPD consider partnering with one of the many colleges
          and universities in New Orleans to bring even greater value to NOPD recruits and veteran
          officers.

         Establish a process for external investigations of NOPD leaders. Like any law
          enforcement agency, NOPD receives occasional complaints against its leaders. Such
          complaints often cannot be investigated by the NOPD.44 Previously, the Department would

41       Subsequent to the issuance of this Report, the NOPD moved the Academy under the Professional
Standards and Accountability Bureau.
42       Moving the policy drafting function to the ETB would create great synergies between policy drafting
and training. Policy drafting and training should be a continuous circular process, with new policing
informing new training, and lessons learned from training informing new policies. Housing those two
functions within a single Bureau makes great sense in our view. Further, moving the Policy drafting function
to the ETB would turn PSAB into a true compliance / audit / innovation organization, and avoid the risk
that PSAB would be auditing policies that PSAB itself drafted.
43       One such example of demilitarization is the Washington State Criminal Justice Training Commission,
run by Sue Rahr, the organization of which is outlined in this article.
https://www.ojp.gov/pdffiles1/nij/248654.pdf.
44       The Society of Human Resources suggests guidelines for selecting an investigator, including one who
can investigate without bias, one who has no stake in the outcome, and no personal relationship with the
involved parties. This suggests using an outside investigator for concerns at the leadership level.



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         refer such investigations to the New Orleans Inspector General. More recently, however, the
         IG has expressed a reluctance to take on such matters. We recommend NOPD revisit the
         matter of investigation referrals with the IG or the IPM, or with another trusted outside
         entity.45

        Increase coordination with the DA’s office. We have met with the DA and several of his
         officials, as well as with NOPD’s A-Case officers and PSAB members who interact with the
         DA. We identified a number of efficiencies that could be gained by establishing a more
         productive working relationship between the NOPD and the DA. To that end, we
         recommend monthly or quarterly coordination meeting among NOPD’s A-Case officers and
         the DA’s screening attorneys, development of a secure file sharing platform, and
         development of a more effective process of sharing information and lessons learned.

        Accelerate the transition from the EPIC curriculum to the ABLE curriculum. While
         the EPIC program was born in New Orleans, in 2020 it evolved into a national best practice
         called ABLE. The NOPD committed to transitioning its current EPIC curriculum into the
         ABLE curriculum. To date, however, NOPD has not done so. NOPD, its officers, and the
         community would benefit from accelerating this transition. Moreover, the principles of
         ABLE will support NOPD’s efforts to ensure its Consent Decree reforms are sustained by
         educating and empowering officers to intervene on another officer to prevent harm.

        Establish a regular schedule for public compliance reports to the City Counsel and to
         the IPM. To keep pressure on the NOPD and the City to sustain its accomplishments of
         the past eight years, we recommend NOPD propose to present to the City Council in a
         public setting on a monthly or quarterly basis. These presentations could focus on PSAB
         compliance audits, its findings, and NOPD’s response to those findings. Similarly, NOPD
         should consider establishing a regular reporting structure to the IPM.

        Re-energize the PCAB process. PCAB leaders report a range of experiences in their
         dealings with the NOPD. Most, however, have reported a lack of interest in the process by
         NOPD and City leaders. The PCABs not only are required by the Consent Decree, they are
         an effective avenue for ensuring community input into NOPD decision-making. We
         recommend the NOPD and the City make a more concerted effort to re-energize the
         PCABs.46 We also recommend Captains be evaluated on their efforts in working with their
         PCABs.


https://www.shrm.org/resourcesandtools/tools-and-samples/how-to-
guides/pages/howtoconductaninvestigation.aspx.
45        NOPD should be sure to memorialize agreements with outside entities in formal MOUs. Indeed,
the ability to carry out compliant investigations of NOPD leaders is necessary to implementation of a
sustainable remedy for officer accountability.
46        We note that in May 2022 Superintendent Ferguson sent a letter to PCAB leaders re-committing
himself and his leadership team to the PCAB process. Superintendent Ferguson subsequently sent letters to



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        Designate a “floater” sergeant and lieutenant. Districts often must operate with a
         fewer-than-ideal number of supervisors. This creates compliance and safety risks. The
         NOPD should consider designating a sergeant and/or lieutenant not assigned to a particular
         District who could be deployed in any given District to cover for absent supervisors. Such
         an initiative also would help NOPD maintain compliance with the close and effective
         supervision requirements of the Consent Decree.

        Conduct more meaningful exit interviews of officers leaving NOPD. We understand
         NOPD’s HR unit attempts to conduct exit interviews of officers leaving the Department.
         Information from exit interviews, if conducted in the right way, can give NOPD a unique
         perspective on what it is doing well and not so well. We recognize, however, that meaningful
         exit interviews often are hard to achieve for a number of reasons, including officer
         unwillingness to participate, officer unwillingness to be fully candid, and the interviewer’s
         implicit or explicit biases about the Department and/or the departing officer. We
         recommend NOPD consult with local HR professionals in an effort to improve its current
         exit interview process. Corporate HR professionals often have significant experience in this
         area and likely will be able to suggest improvements to NOPD’s current program.

We are confident NOPD can identify additional steps to foster not only sustainment, but also a
culture of continuous improvement.

One additional recommendation warrants repeating here. As noted above, NOPD should
reinvigorate its Health & Wellness Program (and ensure the availability of a full time psychologist,
preferably an in-house psychologist). The President’s Task Force on 21st Century Policing included
officer health and wellness among its core recommendations as follows:

                Pay attention to officer wellness and safety
                Law enforcement officers face all kinds of threats and stresses that
                have a direct impact on their safety and well-being. Ensure that
                officers have access to the tools that will keep them safe, such as
                bulletproof vests and tactical first aid kits and training. Promote
                officer wellness through physical, social, and mental health support.47

Consistent with the Task Force recommendations (as well as with a wealth of other research), the
Consent Decree expressly requires NOPD “to provide officers and employees ready access to the
mental health and support resources necessary to facilitate effective and constitutional policing.”
(CD Section XIII) Specifically, NOPD must “develop and offer a centralized and comprehensive
range of mental health services that comports with best practices and current professional standards,
which include: readily accessible confidential counseling services with both direct and indirect
referrals; critical incident debriefings and crisis counseling; peer counseling; and stress management
training.” While we previously moved this area into compliance with the minimum requirements of

all Captains directing them to re-energize their cooperation with the PCABs and letting the Captains know
they would have to report on their process at the Department’s leadership (MAX) meetings.
47       https://cops.usdoj.gov/RIC/Publications/cops-p341-pub.pdf#7.


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the Consent Decree, there exists significant room for improvement in this area.48 The men and
women of the NOPD deserve nothing less than a top-notch health and wellness system.

Not only is a robust health and wellness program a moral imperative (and a requirement of the
Consent Decree), but it pays dividends to the community, the Department, and the City. For
example, research suggests

         “Lack of wellness drives up costs of health care, leads to more sick-days, and loss of
          productivity….”49

         Officers under stress “experience narrowed perception, increased anxiety and fearfulness,
          and degraded cognitive abilities.”50

         Officers who participate in a quality health and wellness program are less likely to be injured
          and retire on disability.51

         Mentally healthy officers are less likely to use force. 52

To enhance NOPD’s current health & wellness offering, we recommend the NOPD (a) ensure the
availability of qualified psychologists, social workers, and peer counselors, (b) explore incentives for
the voluntary use of mental health resources, (c) consider mandatory periodic meetings with a mental
health professional for all officers and leaders (thereby reducing the stigma of affirmative requesting
such support), (d) make a more concerted and visible effort to ensure officers are getting adequate
sleep, (e) continue to promote EPIC/ABLE among all NOPD personnel, and (f) reach out to other
agencies to explore and, if appropriate, adopt new and innovative programs to support officer
mental health. Additionally, NOPD should embrace a willingness to assess, reevaluate, and adjust its
program based on officer feedback and measurable outcomes.

VII.      Community Trust

Building community trust is one of the central tenets of the Consent Decree and, frankly, one of the
central tenets of most national police reform efforts. As was clearly stated in the Consent Decree:



48        At the time we moved OAP into compliance with the Consent Decree, that program was adequately
staffed. While the current leader of the program is terrific in our view, he lacks adequate staffing, equipment,
and resources.
49        https://www.inc.com/adam-heitzman/why-workspace-is-so-critical-to-employees-success.html.
50        https://cops.usdoj.gov/RIC/Publications/cops-p370-pub.pdf.
51        A series of case studies found positive results from implementing more robust wellness programs,
including a physical fitness on-duty program that reduced heart attacks, postponed early retirements, and
reduced other injuries and health problems. https://cops.usdoj.gov/RIC/Publications/cops-p332-pub.pdf.
52        https://cops.usdoj.gov/RIC/Publications/cops-w0864-pub.pdf at 6, finding that job stress impairs
officers’ decision-making abilities, particularly in use of force incidents.


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                  The Parties have a shared recognition that the ability of a police
                  department to protect the community it serves is only as strong as
                  the relationship it has with that community. Public safety,
                  constitutional policing, and the community’s trust in its police force
                  are thus interdependent. The full and sustained implementation of
                  this Agreement is intended to protect the constitutional rights of all
                  members of the community, improve the safety and security of the
                  people of New Orleans, and increase public confidence in the New
                  Orleans Police Department.53

NOPD has made remarkable strides over the past eight years in rebuilding community trust. Our
periodic community surveys have documented NOPD’s progress. More can be done, however.

Following are several recommendations to build even greater community trust we believe are worth
serious consideration by the NOPD leadership team:

         As noted above, re-energize the PCAB process.

         Ensure NOPD community policing leaders stay in their positions long enough to be
          effective. (In this regard, NOPD may want to consider assigning two community policing
          leaders with overlapping but staggering terms to ensure longevity and smoother transitions
          that we have seen in the past.)

         Maximize the data made available to the community. And explore new ways to educate the
          community in how to use those data.

         Continue to release critical incident videos as quickly as practicable.

         Continue to investigate all allegations of misconduct.

         Explore new and innovative ways to give the community insight into NOPD policies,
          procedures, and decision-making.

While we are confident these recommendation will help build an even stronger relationship between
the NOPD and the community, the primary driver of that relationship, of course, is NOPD’s
actions. As cases of misconduct and excessive force go down, and NOPD accountability and
transparency goes up, community trust will continue to grow.54



53      Consent Decree at 1. (http://www.laed.uscourts.gov/sites/default/files/nopdconsent/12-
1924%20%23565%20Amended%20and%20Restated%20CD.pdf).
54      One study found internal affairs policies and procedures, providing comprehensive, accessible, fair,
and transparent complaint, investigation, and disposition processes increased trust of the community.
https://cops.usdoj.gov/RIC/Publications/cops-p170-pub.pdf.


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VIII. Recruitment

No police department can achieve its potential if it cannot attract and retain good officers.55 The
Consent Decree recognized this fact and required NOPD to implement a comprehensive
recruitment program that successfully attracts and hires a diverse group of highly qualified and
ethical individuals to be NOPD police officers. Police agencies across the U.S., however, are
struggling with recruitment.56 To distinguish itself from the mix, we recommend NOPD consider
the following actions:

         Increase the frequency and quality of personal contact with recruits. Recruitment
          experts, including those at the NOPFJ, explain that the frequency and quality of contacts
          plays a significant role in whether those candidates follow through with their applications.

         Involve on-duty officers (i.e., non-recruiting professionals) to participate in outreach
          efforts. NOPD may want to consider asking officers and supervisors of various ranks to
          make calls to candidates in the application process to encourage them to follow through. We
          suspect a call from an actual officer/supervisor “on the street” would go a long way in
          promoting candidate enthusiasm.

         Improve facilities and equipment. See discussion above.

         Expand the use of take-home cars. See discussion above.

         Identify new benefits for officers that distinguish the NOPD from other agencies.
          Innovative police agencies find innovative ways to attract recruits (and retain officers). While
          pay certainly plays a role in recruiting and retention — and we support fair pay for NOPD
          officers commensurate with the complexities and dangers of the job —pay is not the only
          tool for attracting and retaining high quality officers. The officers we spoke to identified a
          multitude of “perks,” which they strongly felt would help attract recruits and retain senior
          officers. Their ideas included take home cars (mentioned above), free or reduced-fee gym
          memberships (which also plays a significant role in promoting officer health and wellness),
          better in-house athletic facilities (e.g., a proper headquarters gym available to all officers),
          reduced tuition to officers attending local colleges, greater tuition reimbursement for
          officers, reduced tuition for officer family members (primary, secondary, and/or higher
          education), more rewards/recognition for commendable performance, better uniform
          allowance (including free replacement if a uniform is torn in the performance of one job
          duties), laptops in vehicles, VPN access from home, and more. While some of these “perks”
          may seem too expensive for the City of New Orleans, we submit that the inability to recruit
          a sufficient number of officers and the inability to keep officers who have been trained by
          NOPD ends up being far more expensive. Further, we suspect the local corporate

55      Struggles with recruitment lead to overwork and burnout of existing officers, and increase the strain
on the police organization.
https://www.theiacp.org/sites/default/files/239416 IACP RecruitmentBR HR 0.pdf.
56      https://www.theiacp.org/sites/default/files/239416 IACP RecruitmentBR HR 0.pdf.


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           community may be willing to offset the cost of some of these ideas if they seem likely to
           improve recruitment and retention.

          Promote NOPD’s transformation under the CD. We suspect the target candidates for
           NOPD recruits has changed over the years. Millennials are different from GenXers, and
           GenXers were different from Baby Boomers. Young people today may be more attracted to
           a Department that has undergone the transformations NOPD has undergone over the past
           eight years. We recommend NOPD promote those transformations and take better
           advantage of the “new NOPD” as a recruitment tool.

          Take greater advantage of EPIC and ABLE. NOPD is the developer of what is now a
           national best practice in policing — active bystandership. NOPD’s EPIC program, which
           soon will be transformed into ABLE (although will maintain the EPIC name) helps lay the
           foundation for cultural change, continuous improvement, and ever-increasing fairness and
           equity. Historically, however, NOPD has not done a good job promoting this critical
           program. Officers, the Department, and the community would benefit from a more
           concerted effort in this regard.

          Work with NOPJF to identify ways to reduce the administrative burden on recruits.
           Recruiting a diverse array of high quality, ethical candidates continues to be one of the
           greatest challenges facing police agencies across the U.S. As most agencies continue to
           struggle in this area, NOPD can distinguish itself from other agencies by simplifying its
           application process. Studies have shown that the more complicated the process, the less
           likely officer candidates will stay with the recruitment process. In one study, for example,
           “[a]pplicants who were offered simpler, standardized processes completed more tests and
           were more likely to be hired. Later reductions to perceived burden led to an 8% increase in
           compliance at one stage, with a 60% increase in compliance within two weeks.”57 We
           recommend NOPD engage more meaningfully with NOPJF and Civil Service to explore
           areas for simplification.

As agencies across the U.S. struggle to attract new qualified candidates to a professional under siege
nationally, NOPD must be creative, innovative, and disciplined in its efforts. It must continually
evaluate current practices for effectiveness, look to others for new ideas, and try new things. We are
hopeful the recommendations above will supplement NOPD’s ongoing efforts.

IX.        Beyond the NOPD

The foregoing recommendations focus on actions the NOPD can take to enhance officer job
satisfaction, help retention, and build further trust with the community. NOPD obviously is not the
only actor in this complicated equation, however. Multiple other City agencies have a role to play in
recruitment, retention, job satisfaction, and community trust. For example, the following actions,
which go beyond the NOPD, also could go a long way in achieving NOPD’s goals. We recognize

57      See
https://gspp.berkeley.edu/assets/uploads/research/pdf/RnR FinalSubmission forResearchGate.pdf.


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that each of these recommendations requires cooperation of non-NOPD agencies, which we
concede historically has not always been forthcoming.

         Work with the DA’s office to find better ways to communicate and cooperate.

         Work with the DA’s office to develop an electronic means of sharing files/evidence.

         Work with local courts to implement new procedures and protocols that are more sensitive
          to officer schedules.

         Work with the jail to provide better work facilities (e.g., computer, printer, office space, etc.)
          for NOPD officers, which would reduce the need for time consuming travel back and forth
          by those officers.

         Work with the Mayor’s Office of Neighborhood Engagement to re-energize the PCAB
          process.

         Work with the New Orleans Inspector General to enter into an MOU that provides for the
          OIG to investigate high level NOPD officers where PIB is unable to conduct the
          investigation.

         Work with City officials to continue to explore ways to ensure NOPD officers are paid fairly
          and given the benefits of surrounding jurisdictions.

         Work with City officials to expand resources available to consumers of mental health
          services, the current dearth of which creates a great hardship not only to those consumers,
          but to NOPD officers as well.

Only through a coordinated effort by all agencies and Departments in the City of New Orleans will
we be able to achieve our goals of better, safer, fairly, and more effective policing.

X.        Conclusion

NOPD has made clear its reform journey is not driven by the Consent Decree, but by a self-
motivated sense of doing what is right. Superintendent Ferguson has said about the NOPD’s
reforms, “this is who we are now.” We agree. The NOPD is a different department from the one
DOJ investigated in 2011. We are hopeful these recommendations provide the NOPD a number of
potential avenues to help sustain and build upon its achievements to date.

Respectfully,



Jonathan S. Aronie
Federal Monitor
Sheppard Mullin LLP


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